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RAVAN ASAY Unit Summary Sheet Unit Number:
Psychiatric Treatment
and Rehabilitation
Center
Attending physician: Ward: Name: Siamak Family name: Pourzand
Farzad Nazemi
Room:
Bed:
Admission Date: Date of birth: Father’s name:
11/22/2009
Date of Discharge: Occupation: Marital Status: Sex:
Married: I Male: CI
Single: Female:
Address and Phone no:

Chief Complaint and the Patient Primary Diagnosis:
Isolation and lack of energy
The patient is a 79-year-old man with 6 months of feeling absurd especially with
depressed mood, loss of energy, anhedonia, anxiety, insomnia
Isolation and lack of social activity, sometimes staring at a point and in some cases urinary and fecal

incontinence.

Moreover, he has had Parkinson and high blood pressure (BP).

Final Diagnosis:

He was diagnosed with Major depressive disorder + Parkinson's disease.
Relative improvement with prescription
1- tab zoloft 100 mg daily

2- tab bupropion 75 mg Tds

3- tab trimipramin 10 mg hs

4- tab apo mirtazapin 5 mg hs

5- tab levodopa-carbidopa 100/25

6- tab prazosin Img
7- tab finastride Smg

Medical and Surgical Procedures:

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Results of Clinical Examination:

Diagnosis Progress (cause of death):

Patient’s Condition at the Time of Discharge:

Recommendation after Discharge:

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Certification of Translation

I, Hadis Sabzi, declare that I am a qualified translator and translate from the Farsi language
to the English language. I further declare that I have translated the attached document from the
Farsi language to the ENGLISH language. I declare to the best of my abilities and belief, that this
is a true and correct translation of the Farsi language text of the Medical Report for Siamak
Pourzand.

I declare and can competently testify under penalty of perjury that the foregoing is true and correct.

Executed this August 8" 2021.

Hater Aly

Hadis Sabzi

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